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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION



 ROTHSCHILD BROADCAST DISTRIBUTION
 SYSTEMS LLC,                                              Hon. Robert W. Schroeder, III

                Plaintiff,                                 JURY TRIAL DEMANDED
        v.                                                 CASE NO. 6:15-CV-526

 LATAKOO, INC.,

                Defendant.



                                STIPULATION OF DISMISSAL
                               PURSUANT TO FED. R. CIV. P. 41


        Pursuant to Fed. R. Civ. P. 41(a), Plaintiff Rothschild Broadcast Distribution

 Systems, LLC (“RBDS”) dismisses its claims against Latakoo Inc. with prejudice, and each party

 bears its own attorneys’ fees and costs.
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 DATED: December 2, 2015                         Respectfully Submitted,


                                                 By:/s/Charles Ainsworth

                                                 Charles Ainsworth
                                                 State Bar No. 00783521
                                                 Robert Christopher Bunt
                                                 State Bar No. 00787165
                                                 PARKER, BUNT & AINSWORTH, P.C.
                                                 100 E. Ferguson, Suite 1114
                                                 Tyler, TX 75702
                                                 903/531-3535
                                                 903/533-9687
                                                 E-mail: charley@pbatyler.com
                                                 E-mail: rcbunt@pbatyler.com

                                                 ATTORNEYS FOR PLAINTIFF,
                                                 ROTHSCHILD BROADCAST
                                                 DISTRIBUTION SYSTEMS, LLC


                                                 /s/John J. Mongogna with permission
                                                 John J. Mongogna
                                                 Texas Bar No. 24002627
                                                 WRIGHT GINSBERG BRUSILOW, PC
                                                 14755 Preston Road
                                                 Suite 600
                                                 Dallas, TX 75254
                                                 Telephone: (972) 788-1600
                                                 Facsimile: (972) 239-0138
                                                 Email: jmongogna@wgblawfirm.com

                                                 ATTORNEYS FOR DEFENDANT
                                                 LATAKOO, INC.


                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that all counsel of record who are deemed to have
 consented to electronic service are being served this 2nd day of December, 2015, with a copy of
 this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3). Any other counsel of
 record will be served by, electronic mail, facsimile transmission and/or first class mail on this
 same date.

                                             /s/ Charles Ainsworth
                                             Charles Ainsworth




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